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                       UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANISA

IN RE: NATIONAL FOOTBALL               )
LEAGUE PLAYERS’ CONCUSSION             )
INJURY LITIGATION                      )
                                       )
LORRAINE DIXON                         )
PROS SE PLAINTIFF                      )
                                       )
vs.                                    )
                                       )
NATIONAL FOOTBALL LEAGUE AND )
NFL PROPERTIES, LLC., SUCCESSOR- )
IN-INTEREST TO NFL PROPERTIES,         )
INC. DEFENDANT                         )
                                       )
Response and Opposing Motion to Zimmerman Reed’s Notice and Motion for Attorney
Lien

       Lorraine Dixon, Plaintiff, hereby files its Response and Opposing Motion to

Zimmerman Reed’s Notice and Motion for Attorney Lien and states as follows:

Background

       Lorraine Dixon, Plaintiff, is the wife of former National Football Player, Rickey

Dixon. Rickey Dixon played in the NFL for 6 years. On May 15, 2012, Rickey Dixon

and Lorraine Dixon entered into a contract with Zimmerman Reed et, al. (Petitioner).

Pursuant to the terms of that contract, Petitioner’s attorney fee for representation was set

at 331/3%. (See Exhibit 1).

   In July 2013, Rickey Dixon was diagnosed with Amyotrophic Lateral Sclerosis

(ALS). Currently, Rickey Dixon is only able to speak and write with the assistance of a

computer, he is unable to bathe himself, dress himself, and has no tactile grip. Rickey

Dixon has trouble chewing and swallowing and requires assistance at all times. Rickey

Dixon’s spirits remain upbeat and his one desire is to make sure that Plaintiff, his wife of


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more than 20 years, his 9 year old daughter, his 20 year old special needs son and two

adult aged children1 are well taken care of during his illness and in the event of his death.

   Lorraine Dixon has continued to work full-time through this very difficult period, but

finds it increasingly more difficult to continue working as Rickey Dixon’s ALS

progresses. One of Lorraine Dixon’s goals is to make sure that Rickey Dixon’s quality of

life is the best it can be under the circumstances. The settlement award will allow Rickey

Dixon to receive experimental drugs, obtain medical equipment that he is currently

unable to afford and ensure that he is comfortable for the remaining years of his life.

   As Rickey and Lorraine Dixon’s case proceeded, Rickey and Lorraine Dixon became

increasingly concerned regarding the direction Petitioner was taking regarding the

representation of their case. On October 7, 2015, after much thought and discussion,

Rickey Dixon and Lorraine Dixon released Petitioner, via e-mail and terminated the

Contract, pursuant to said Contract. (See Exhibit 2). On March 7, 2016, over a year to

the date, this Court granted Petitioner’s Motion to Withdraw as Counsel for Plaintiff’s

Rickey and Lorraine Dixon and by the same Order granted Plaintiffs Rickey and Lorraine

Dixon’s Motion to proceed Pro Se. (See Exhibit 3).

   Petitioner’s services were terminated prior to the Appellate Court rendering its

decision in the Class Action Settlement case and prior to final approval of the Class

Settlement by this Court.




1 Rickey Dixon Jr., is 21 years old. He is currently in college and relies on his parents

for financial support. Also, Brittany Dixon is 27 years old, and resides at home with
her parents. She is requires support of her parents because of learning disabilities
that limit her ability to care financially for herself.


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     Petitioner did not register Plaintiffs as interested parties in the recent registration

process. Lorraine Dixon did, nor will Petitioner be submitting documentation to the

administrator, meeting any approved doctors to meet settlement guidelines or ensuring

that timelines are meet, which is the crust of the work regarding Plaintiff’s individual

settlement claims. All of these services will be performed by Lorraine Dixon.

     Argument

I.        Petitioner’s Service was De Minimis and Does Not Meet the Statutory

Requirements under Minn. Statute § 481.13. Additionally, the Intent of being a

Statute of Equability is not Furthered by Allowing the Petitioner to Place a Lien on

Plaintiffs Settlement Award.

     1.      Application of Minn. Statute § 481.13 is a question of law, Boline v. Doty,

             345 N.W. 2d 285, 288-90 (Minn. App., 1984) however, the reasonable value

             of attorney fees is a question of fact, Ashford v. Interstate Trucking Corp., 524

             N.W. 2d 500, 502 (Minn. App. 1994).

     2.      The Minnesota statute is an equitable lien statute. It protects the attorney

             against a successful party receiving judgment secured by an attorney’s

             services without paying for those services. Johnson v. Blue Cross and Blue

             Shield of Minn. 329 N.W. 2d 49, 53 (Minn. 1983); Schroeder, Siegfried, Ryan

             and Vidas v. Modern Elec. Prods., Inc., 295 N.W. 2d 514, 516 (Minn. 1983).

     3.      Applying the above to Plaintiff’s case, the Petitioner will obtain

             compensation from the $112.5 million attorney fees established by the NFL.

             No other attorney fees should be awarded to Petitioner from Plaintiffs




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     settlement award for de Minims services provided by Petitioner which

     included the following;

     a. Petitioner filed a short form Compliant on July 23, 2012, (See Exhibit 4).

     b. The short form Complaint was a fill in the Blank document that

     required very little time or legal expertise. The answers to the short form

     Complaint were previously provided by the Dixons in the form of a

     questionnaire provided to Plaintiff by Petitioner. (See Exhibit 5).

        c.      Beyond the short form Complaint, Petitioner has done very little

     other legal work on behalf of Plaintiffs’ individual case. There were times

     Lorraine Dixon reached out to Petitioner regarding the Dixons’ individual

     case and did not receive a response from the Petitioner. (See Exhibit 6).

        d.      In fact, Lorraine Dixon has done much of the work and paid for the

     work Petitioner completed and invoiced prior to the termination of the

     Contract. Specifically, Lorraine Dixon registered herself, Rickey Dixon and

     their minor children in this matter. Lorraine Dixon obtained and made copies

     of medical records and provided those documents to Petitioner at the Dixons’

     own expense. (See Exhibit 7). The Dixons also paid for other medical

     records and reports provided to Petitioner at the Dixon’s own expense. (See

     Exhibit 8).

4.   Petitioner acknowledged the work of Lorraine Dixon and agreed to reimburse

     her for fees and services. (See Exhibit 9). Lorraine Dixon was pleased to hear

     of the Petitioner’s offer but to date has had no further communication with the




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     Petitioner until the receipt of the Petitioners Notice and Motion for Attorney

     Lien.

5.   As far as communications go, Petitioner provided de Minimis information as

     it pertained to the Dixons’ individual case. The majority of updates provided

     by Petitioner pertained to the class settlement. (See Exhibit 10). The

     following categorizes the type and number of communications the Dixons had

     with the Petitioner:

     a. 2 documents to expert witness Dr. Ahlberg;

     b. 8 e-mail documents pertaining to communications between Lorraine

          Dixon and the Petitioner, including e-mails discussing termination;

     c. 8 documents that relate to Plaintiffs individual case which consisted of the

          following, 4 letters requesting Plaintiffs to sign authorization form for

          medical releases, a copy of the short form Complaint and 3 documents

          requesting Plaintiffs to fill out questionnaire forms;

     d. 5 documents relating to pre settlement proceedings and discussions;

     e. 16 documents regarding Plaintiff’s Support loan and

     e.   19 documents discussing the Class Action Settlement.

6.   Rickey Dixons’ case is ‘cut and dry’ and did not involve the need for an

     investigation, an expert witness, analysis or further medial testing as

     Petitioner’s motion suggests.

7.   Rickey Dixon has ALS; his doctor is a recognized Neurologist. The Chief

     Neurologist over the neurology department where Rickey Dixon attends has

     done work for the NFL. It would be surprising if the credentials of Rickey



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      Dixon’s neurologist was not accepted by the Class Administrator. Petitioner

      was well informed of this by Lorraine Dixon.

8.    As stated and demonstrated in paragraph 5, the Dixons received little to no

      information as to the Plaintiffs’ individual case as the Class Action Settlement

      discussions proceeding.

9.    Petitioner now alleges that the filing of a short form Complaint, providing

      status updates of the Class Action Settlement in the form of e-mail blasts or on

      form letters sent to all of Petitioners clients are services that entitles the

      Petitioners to an attorney’s lien of the Dixons’ entire settlement award.

      Lorraine Dixon asserts that the services provided by Petitioner does not rise to

      the level that the statute was designed to protect.

10.   Lorraine Dixon urges the Court to examine the services provided by Petitioner

      or the lack thereof, as well as the time and resources expended by the Dixons’

      in their individual case to make its determination on whether granting a lien of

      attorney fees against the Dixons’ settlement award is reasonable, allowable,

      just and ethical. And furthermore, if such a lien would be supported by public

      policy.

11.   As stated earlier, the statutes intent is to prevent and protect the attorney

      against a successful party receiving judgment secured by the attorney’s

      services without paying those attorneys for those services.

12.   In the instant case, Petitioner provided de Minimis services in the Dixons

      individual case and for those services that were provided the Petitioner




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      services will be fully provided for in the 112.5 million attorney fees

      established by the NFL.

13.   Upon termination of the Contract, Lorraine Dixon requested that the Petitioner

      put in writing a list of all expenses and outstanding balances that Petitioner

      alleged was owed to them, as well as, any documentation supporting the

      allegation.

14.   The Petitioner submitted documentation in the amount of $2,304.55 but now

      alleges that he is entitled to an attorney lien on the Dixons’ potential 4.5

      million dollar settlement. (See Exhibit 11).

15.   To demonstrate Lorraine Dixon’s substantial involvement in the case and that

      some of the very services Petitioner alleges that he performed was actually

      performed by Lorraine Dixon, Lorraine Dixon brings to the Court’s attention

      the communication, via e-mail where Lorraine Dixon asked Petitioner if she

      would be reimbursed for the cost and time she exercised in the case and

      Petitioner agreed that she would. (See Exhibit 9).

16.   These actions came at a cost for Lorraine Dixon. It required Lorraine Dixon

      to take leave from her job, and pay for costs out of the Dixons’ personal

      finances. For the Petitioner to now allege that these actions taken by Lorraine

      Dixon were services Petitioner provided is simply not true.

17.   There is no unjust enrichment on behalf of the Dixons in this case as the

      evidence demonstrates, the Dixons greatly contributed in the preparation and

      finances of their own case.




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18.   Additionally, Petitioner provided very little services as it pertained to Dixons’

      individual case.

19.   Petitioner now asks this Court to allow an attorney’s lien on all of the Dixons’

      settlement award is so contradictory to the arguments made before your

      Honors Court while settlement and oral arguments were being made.

20.   Plaintiff points out that during the time of settlement discussions and oral

      arguments against the Opt-out players, attorneys stated that the approval of the

      settlement was needed because of the players’ health and the dire needs of the

      players to obtain the settlement monies to get the care and assistance that they

      so detrimentally need. Yet now, the Petitioner seeks to prevent the Dixons

      from receiving the very monies they once argued so passionately that was

      needed. This new position is very hypocritical on the part of Petitioner

      because now the Petitioner requests that the Dixons entire settlement be

      withheld.

21.   Petitioner also suggests that they are entitled to an attorney lien based upon a

      “litigation risk.” A “litigation risk” that has very handsomely paid off for the

      Petitioner, as they stand to gain at least 1,021,545.97 from the NFL paying

      their attorney fees.

22.   Petitioner’s motion is unreasonable, unethical, and without merit.

23.   Petitioner’s reliance of Minn. Statute § 481.13 is misplaced as the second

      prong of the statute has not been met because Petitioner has not demonstrated

      that he has provided services that has unjustly enrich the Plaintiff, nor has he




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               demonstrated that the litigation risk he undertook that will not be paid by the

               NFL.

      24.      Based upon the above, Lorraine Dixon respectfully asks this Court to deny

               Petitioner’s motion for an attorney lien and to find that any services performed

               by Petitioner on behalf of the Dixons was de Minimis at best and the

               compensation that Petitioner stands to share in from the 112.5 million dollar

               attorney fees set aside by the NFL will cover all services that have been

               rendered on behalf of the Dixons, including any litigation risk.

      25.      Allowing Petitioner to take a windfall against the Dixons’ individual

               settlement does not further the intent of the Minn. Statute but goes against the

               very principle of unjust enrichment.

      26.      To reward the Petitioner for de Minimis services rendered is not the intent of

               the statute, neither is rewarding a Petitioner for taking a litigation risk when

               the Petitioner stands to be richly awarded by sharing in the $112.5 million

               dollar attorney fees set aside by the NFL.

      27.      Plaintiff respectfully asks the Court to deny this Motion in its entirety.

II.         The Class Action Settlement Does Not Permit Petitioner to Deduct Any

Attorney Fees From Plaintiff’s Individual Award.

      28.      As the Estate of Kevin Turner’s Motion to Resolves Attorney Fees correctly

               points out, Section 21.1 of Article XXI states that the NFL Parties will pay

               attorneys’ fees [s]epartely and in addition to “the Monetary Award paid to the

               class members. See ECF 6481, Exhibit 11. The Court’s final Approval

               Memorandum also confirms that attorneys’ fees are not to be taken from the



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       Monetary Award or funds available to the class. See ECF 6509. The Final

       Memorandum states:

           A fee award in this case will not come from the common fund. The
           ultimate amount the NFL Parties must pay in attorney fees will have no
           impact on the Monetary Award paid or baseline assessment examination
           given because the NFL Parties have already guaranteed these benefits, in
           full, to eligible claimants. See ECF 6509, p.31 (citing §21.1 of the Class
           Action Settlement Agreement); see also ECF 6509, p. 21 and 30 (‘Any fee
           will be separate from, and in addition to, the NFL Parties other obligations
           under the Settlement).

29.    Plaintiff’s motion for an attorney lien on Plaintiff’s individual award is

       inconsistent with the Class Action Settlement and would result in an

       inherently unfair outcome and double dipping by the Petitioners.

30.    For these reasons, Plaintiff respectfully asks the Court to make a

       determination that attorney fees will be paid from the NFL and deny

       Petitioners motion in its entirety.

III.   Petitioner was release from its Representation of Plaintiff and the

       Contract was Released Without the Intent of Unjust Enrichment to

       Plaintiff.

31.    The Dixons released Petitioner on October 7, 2015. (See Exhibit 2).

32.    The Dixons became increasingly dissatisfied with the direction the Petitioner

       was taking in its case.

33.    One area of concern was Petitioner’s decision to hire an expert witness at the

       Dixons’ expense.

34.    Lorraine Dixon, questioned the need of an expert witness given that the

       Dixons’ case was straightforward. As explained to the Dixons, Petitioner was

       trying to establish that Rickey Dixon had symptoms of ALS as early as 2011.


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          This strategy by Petitioner was in an effort to place Rickey Dixon in a class to

          obtain a larger settlement.

   35.    The Dixons did not agree with this approach, as the settlement terms were

          very clear, the date for settlement purposes was the date of diagnosis and not

          the date of symptoms.

   36.    Further, it did not make sense to the Dixons that the Petitioners expert witness

          had not examined Rickey Dixon but simply looked at records provided by

          Rickey Dixon’s treating physicians to make this judgment. Lorraine Dixon

          was also concerned that this expert witness was not an approved physician2 by

          the Settlement Administrator, but yet the Dixons were being charged for his

          expertise.

   37.    The Dixons concluded that the Petitioners approach and tactics could have

          jeopardized the Dixon’s rightful and legal claims.

   38.    The Dixons became leery and distrustful of Petitioners.

   39.    The Dixons also felt no connection with the Petitioner, which is vital when

          entrusting an attorney to represent your interests.

   40.    The Dixons were also suspicious of the Petitioner because when asked about

          attorney fees his answers were evasive.

   41.    The Dixons believed that to the Petitioner this case was about how much

          money the Petitioner could derive from the settlement. However, for the

          Dixons, this matter was of a personal nature. It is living a life without the

          health and support of a young husband, a family with four children of


2 To date the list of approved physicians has not been provided.



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      different ages and with different needs, and the ability for the family to

      survive.

42.   As stated above, Plaintiff begun to feel that for Petitioner this case was about

      how much he could derive from the settlement and for Plaintiff this was much

      more personal, yes the need for the settlement money is dire, but it is also

      about holding the NFL accountable for their actions, even if they did not

      admit any wrongdoing, the NFL will be required to pay for medical services

      and pay out of pocket. Hopefully, because of this case, future players will be

      protected and have better protocol for the players and the game, which to date

      Rickey Dixon still loves..

43.   These are the things important to Plaintiffs Lorraine and Rickey Dixon, and

      the Petitioners did not seem to have the same concerns and values. For the

      Dixons the relationship with the Petitioner felt like, for a lack of better term

      “out of touch”.

44.   For example, one specific time that Lorraine Dixon remembers to explain the

      Petitioner’s insensitivity towards the Plaintiff and the disconnect Plaintiff felt

      with the Petitioner is when Rickey Dixon was sharing that he needed to go to

      California for a stem cell treatment. Rickey was stating how the airplane rides

      were getting tough on him and how he can no longer fly alone. Petitioner’s

      response was to share how he loves flying on his private jet and how

      enjoyable it is.




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45.   Who says this to a terminally ill man? Who brags about being able to fly on

      his private jet to a client when your terminally ill client is explaining how

      difficult it is for him to fly commercially?

46.   It was the little things like these coupled with the bigger items of being

      evasive about the attorney fees, hiring an expert witness who briefly spoke

      with Rickey with the goal obtaining a larger settlement award without

      measuring the risks of delay at Plaintiff’s expense.

47.   For these reasons and due cause, the Dixons terminated the contract and

      discharged the Petitioner.

48.   The Dixons did not see this termination as personal against the Petitioners but

      the Petitioners approach and personality was not a good fit for Rickey and

      Lorraine Dixon.

49.   Lorraine Dixon respectfully requests that the Court finds that Plaintiff acted

      reasonable and without an intent to be unjustly enriched in the termination of

      Petitioner.

      Petitioner’s Motion For an Attorney Lien is Inconsistent With the Terms

      of the Contract

50.   The terms of the legal services are set out in the Contract. (See Exhibit 1).

      The specific terms of Termination are set out on (See Exhibit 1, page 2 ) and

      provides as follows:

      The Client, in this instant matter, Rickey and Lorraine Dixon, may terminate
      Zimmerman Reed as your legal counsel at any time by written notice to
      Zimmerman Reed. Upon receipt of such a notice, Zimmerman Reed will cease
      all work on your behalf and will cooperate with you in finding appropriate
      counsel to substitute for Attorneys or in transferring your file to counsel of
      your choice. Zimmerman Reed may also withdraw as your legal counselor


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      suspend or limit its services to you, in compliance with applicable rules of
      professional responsibility. Those rules include provisions permitting
      withdrawal if a client makes the representation unreasonably difficult,
      requests conduct on the part of Zimmerman Reed, which is unprofessional or
      fails to fulfill an obligation to Zimmerman Reed. However, such a withdrawal
      will only be done after providing you adequate notice and an opportunity to
      secure other counsel. Zimmerman Reed reserves the right to seek payment for
      all costs and expenses advanced by Zimmerman Reed at the time of
      termination or withdrawal. Exhibit 1, page 2.

51.   Plaintiff relied on the terms of the contract to be complete and definite in

      terms of what Obligations and Fees were owed to Petitioner in the event of

      termination.

52.   Had Plaintiff been made aware of the possibility that Petitioner could seek

      additional monies outside of the four corners of the Contract, Plaintiff would

      have asked for a clear explanation regarding those fees and most likely would

      not hired Petitioners to represent them.

53.   It was Plaintiff’s intent to abide by the rules and procedures of the Contract

      and to pay for services rendered.

54.   To be clear the Contract with the Petitioner was plain in how recovery of

      settlement would be distributed and the termination provisions. Exhibit 1

      pages 1 and 2.

55.   If the Petitioner was able to set forth with precise and concise language how

      they were to be paid and the procedures for termination, why weren’t the

      terms for additional rights of recovery included the Contract?

56.   For the Petitioner to now allege that an attorney lien is proper to a portion of

      Plaintiff’s settlement award without prior communication to the client and ,




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      supported by the Contract is grossly unfair and unjust to the Plaintiff who has

      now detrimentally relied on the Contract drafted by Petitioner.

57.   Plaintiff expectations of the Petitioner were for him to be upfront and honest

      with Plaintiff regarding all possible costs that Plaintiff may have incurred in

      hiring Petitioner for representation.

58.   Petitioner’s actions have been suspect throughout this process and this is just

      one more action by Petitioner that confirms that Plaintiff’s suspicions

      regarding Petitioners honesty has been confirmed.

59.   Plaintiff relied on the Contract, written by the Petitioner to express within its

      four corners the governing of the contract, including attorney fees.

60.   Petitioner’s actions are unconscionable and unfair to the Plaintiff.

61.   Plaintiff begs this Court to deny the Petitioner’s motion and to hold that to

      allow the Petitioner motion to go forward goes beyond the four corners of the

      Contract and void the Contract because there was no meeting of the minds.

      Further, Plaintiff respectfully asks the Court to deny the Petitioner’s motion

      for an attorney lien.

62.   In the seventh hour, Petitioner files a motion for an attorney lien when the

      evidence demonstrates that de Minimis work was performed on Plaintiff’s

      individual case, that Plaintiff did a majority of the work Petitioners alleged

      was performed by him, where Petitioner was terminated without malice or an

      expectation of unjust enrichment by Plaintiff and the contract failed to include

      language that could have been easily asserted into the contract for which now

      the Petitioner relies to block Plaintiff receipt of monies. Again, it was the



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      Petitioner themselves who agreed and argued that it was important to get

      settlement approval because of the immediate need to get settlement award

      monies to the former NFL players. To get those players the assistance they so

      desperately needed, players like Rickey Dixon whose is in a terminally ill

      condition.

63.   It now seems that the Petitioner’s argument was an argument of convenience

      because the Petitioner has now switched the argument and that concern and

      compassion demonstrated for the public, the news media and the Courts seems

      to now be absent because now they now are trying to block access to Rickey

      Dixons award in its entirety.

64.   Upon receipt of Petitioner’s Notice and Motion for Attorney Fees Plaintiff and

      Rickey Dixon looked at each other and said, “We told you so” we had them

      pegged.

      WHEREFORE, the Plaintiff, Lorraine Dixon prays:

      1. The Court denies the Petitioner’s Notice and Motion for an attorney’s lien;

      2. The Court finds that the NFL payment of the Attorneys fees is more than

         enough to compensate Petitioner for the Dixons in the matter of the

         National Football League Players’ Concussion Injury Litigation;

      3. That this Court denies and rejects Petitioner’s Motion of Attorneys Lien

         against any proceeds the Dixons will derive from any settlement or

         judgement in the matter of the National Football League Players’

         Concussion Injury Litigation Football;




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         4. That this Court allows the Defendant or the Defendant’s insurer to pay the

             Plaintiff all sums of money Plaintiff qualifies for under the terms of the

             settlement and that if the Court has failed to render its Order prior to

             deciding this issue Plaintiff is entitled to at least 80% of its settlement

             award.

         5. For such other relief as this Court deems just.




Dated: March 20, 2017                                Respectfully submitted,



                                                     ________________________
                                                     Lorraine Dixon
                                                     Pro Se Plaintiff
                                                     908 Country Creek Lane
                                                     Red Oak, Texas 75154
                                                     Telephone: 214-727-5402




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                             CERTIFICATE OF SERVICE

       The Undersigned hereby certifies that the foregoing document was filed via the
ECF filing system on March , 2017 and that as a result electronic notice of the filing
was served upon al attorneys of record.



                                            /s/ Lorraine Dixon
                                            Pro Se Plaintiff




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